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olsTRIcT oF INDIANA
soUTHERN DISTRICT

UNITED STATES OF AMERICA
Plaintiff

  

vs_ Case No: 1:1§_CR-651%9§

JARED S. FOGLE
Defendant

OBJECTIONS FOR THE RECORD

COMES now, Defendant FOGLE, does hereby enter the following objections to
this court's recent findings of 20 February 2018, as regards to the "forfeiture"
Finalization;
monlous j sTATuToRr vRELIANcI-:
This court in its holdings, relied on § 853 of Title 21 of the USC;

As such, this court ruled in error. § 853(a) of Title 21 states in clear and
non-ambiguous text that:

'Property Subject to forfeiture: Any person convicted of a

violation of this title or title III punishable by imprisonment

for more than one year, shall forfeit to the United States
irrespective of any provision of State Law ---'

 

The Supreme Court of the United States addressed this exact issue of misuse

of statutory legislation in June 2017, under Honeycutt v. United States 198 LED
2D 73, stating :

”Forfeiture’umder”?i*ds€v§a&§%*appliesvto’anyapersonaconvictedaefs**~a»'~~:'~'~

certain serious drug crimes.”

 

The Supreme Court also found, that such forfeiture, was entitled as evidence
of the "profit making" of the Drug driven actions:

[2] forfeiture pursuant to 21 USCS § 853(a)(1) was limited to property
the defendant himself actually acquired as the result of the crime.'

the Supreme Court also found further that:

'853(a) limits the statutes reach by defining the property subject to
forfeiture.....'

FOGLE, would remind this court, § 853 is associated with "serious drug crimes'.

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further, the Supreme COurt held in Honeycutt that:

'A court cannot construe a statute in a way that negates
its plain text.'

This court is reminded, that the plain text of § 853(a) states:

'Property Subject to forfeiture: Any person convicted of a
violation of this title or title III.....”

 

FOGLE has not been found guilty of any Title 21 or Title 3 Charges.

OBJECTION: FOGLE has once again been denied due process
of law(s); this court has again misapplied the law, as it
is written. FOGLE Objects. '~ , \ M'H»W»' ~Wa

Submitted this lst y of March 2018

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Jared S. Fogle

Pro Se

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